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Dear Judge Koeltl

Alex Mashinsky is my older brother. I knew him my entire life.

I am proud of him as a man, a father, a member of society and proud of the values
he taught me.

I remember one evening when I asked him: "Alex, Tell me, how do you get all these
new ideas?" He was silent for a moment and then replied - "I just ask why. Why does
a ball fall back down to earth? or - why do we only produce electricity from chemical
reactions? Are there other ways to produce pure water? or - why do people believe
in paper money? Are there other options?"

I was mesmerized. To sit and listen to Alex is to agree to open your eyes. To put our
reality in a big question mark and challenge it. To agree to try to see beyond. To
explore something new.

Alex always made me ask questions, pushed me to dare more and to be a better
version of myself. All such quests were always intended to do good for society;
finding a life and business model which was a win for everyone and which brought
everyone along together.

For Alex, the financial success he had his entire life was never the goal. He never
talked about it. It was something that was incidental to the value he wanted to bring
to the world - freedom of thought and freedom of choice.

Alex was born in communist Russia, where people were told what to think and what
to do. Alex's drive would have been extinguished if he had continued to live there.
Fortunately for us, our father, also a freedom loving man, left Russia as soon as he
could for the benefit of the democratic State of Israel, where he could give us
freedom of thought and freedom of choice.

Later in his life, after the army service, Alex continued to the United States, the
country of unlimited possibilities, which allowed him the freedom to fulfill many of his
ideas and create 8 companies.

I remember Alex telling me about a new era in which people have choices and
benefit from a new digital currency that allows freedom and new possibilities. He
truly believed that digital currency was going to change the world and give people
more freedom and financial independence. That is what drove him.

Sometimes I think that because he was so absorbed with this goal, to allow people
true financial freedom, he underestimated how much change is needed to achieve
his vision.
He gathered people around him from the financial industry, who supposedly believed
in this goal, but in reality what interested them was the money itself, and he didn't




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see that…

Alex always thinks big. He dares to do things that others would not allow themselves.
To join him is to dare to dream. To dare to make a real impact and good change in
the world.

Many people say about Alex that he is a maverick, that he is an entrepreneur, that
he dares to do what others don't, but few understand that what always drove him
was the desire to make the world a better place and allow people what he didn't have
as a child - freedom.

Karina Rosenbaum – Alex's sister


Israel




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